Case 1:20-cr-00342-DC Document 24 Filed 04/14/21 Page 1 of 15 PageID #: 107




9?!'(5#52s
) = 
                                                                                             

B9,A's?@#@(?s',?@=.&@s&;B=@s
                                                                                     5:27 pm, Apr 09, 2021
(#?@(=9s'- ?@=.&@s;)s:(EsF;=4s
                                                         
                                                                                     

B :.@('s?@#s@(?s;)s#8=.&#s                            ? B< ( = ? ( ' .9 *
                                                      . 9 ' . & @7 ( 9 @
        IUIX_fgs
                                                           !Kd62%
                                                      &ds9bss?s3% s
F#2;D 6;=;G s                                         @s  sB ?& sqqs I ] & s
                                                       I  s  ssI_MssOhr"s
       I[fbsZ_bn_sIfs2bJps
                                                       @  sC?& sqsc "s@s  sB ?&
       I_MsFsIfVI s
                                                       q K
2=.?@Fs6#2 s
#9'=(s<=.9&( s
        I[fbsZ_bn_sIfs#[\O_s
       <IdZfsI_Ms#Idb_ sI_Ms
2=.?@(9s?6.@/0 s
        I[fbsZ_bn_sIfs?IJdX_I s

                     'OQP_MI_gfs



@/(s*>$:'s1B=Fs&+#=*(?!s

                                     -9@=;'B&@-;:s

              #gsI[[sgYOfsdO[OmI_gsgbsgVWfs?lcOdfOMW_Us._LWKkO_g sl_[OffsbiVOdnWfOs

W_MWKIgOM!s

       #     @VOs'ORP_MI_gf

                   @VOsMOT_MIajsFs#2;D7;=;H sI\fbsZ_bo_sIfs2bJpsI_MsFIfVI 

nIfsIsdOfWMO_gsbQs%dbbZ[p_ s9OnsFbdZsI_MsnIfsgVOsfb[Osbn_Od sbSQWKOdsI_MsbcOdIgbdsbQs

fOmOdI[sIQQW[WIgONsKb^cI_WOfsgVIgsnOdOsO_UIUOMsW_sgVOsX`gOdfgIgOsgdI_fcbdgIgWb_sbRsVblfOVb[Ms

UbbMfsI_MscdbcOdgpsJpsKb^^OdKWI[s^bgbdsKIddWOds^bgbdsKIdeWOd sX`K[lMX`UsJlis_bgs[X^WgONs
Case 1:20-cr-00342-DC Document 24 Filed 04/14/21 Page 2 of 15 PageID #: 108
Case 1:20-cr-00342-DC Document 24 Filed 04/14/21 Page 3 of 15 PageID #: 109
Case 1:20-cr-00342-DC Document 24 Filed 04/14/21 Page 4 of 15 PageID #: 110
Case 1:20-cr-00342-DC Document 24 Filed 04/14/21 Page 5 of 15 PageID #: 111
Case 1:20-cr-00342-DC Document 24 Filed 04/14/21 Page 6 of 15 PageID #: 112
Case 1:20-cr-00342-DC Document 24 Filed 04/14/21 Page 7 of 15 PageID #: 113
Case 1:20-cr-00342-DC Document 24 Filed 04/14/21 Page 8 of 15 PageID #: 114
Case 1:20-cr-00342-DC Document 24 Filed 04/14/21 Page 9 of 15 PageID #: 115
Case 1:20-cr-00342-DC Document 24 Filed 04/14/21 Page 10 of 15 PageID #: 116
Case 1:20-cr-00342-DC Document 24 Filed 04/14/21 Page 11 of 15 PageID #: 117
Case 1:20-cr-00342-DC Document 24 Filed 04/14/21 Page 12 of 15 PageID #: 118
Case 1:20-cr-00342-DC Document 24 Filed 04/14/21 Page 13 of 15 PageID #: 119
Case 1:20-cr-00342-DC Document 24 Filed 04/14/21 Page 14 of 15 PageID #: 120
Case 1:20-cr-00342-DC Document 24 Filed 04/14/21 Page 15 of 15 PageID #: 121
